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                                                                                                                        Citibank, N.A.
                                                                                                                      7

                                                                                                                      8                           UNITED STATES DISTRICT COURT
                                                                                                                      9                                  DISTRICT OF NEVADA
                                                                                                                     10 SHANE SMITH,                                   CASE NO. 2:21-cv-01876-JCM-BNW
                                                                                                                     11           Plaintiff,                           STIPULATION AND ORDER TO
                                                                                                                     12                                                EXTEND TIME FOR CITIBANK, N.A.
                                                                                                                          v.
                                                                                                                                                                       TO RESPOND TO PLAINTIFF’S
                    1980 Festival Plaza Drive, Suite 900


                                                                                     702.471.7000 FAX 702.471.7070




                                                                                                                     13 CITIBANK, N.A. and EQUIFAX                     COMPLAINT
BALLARD SPAHR LLP

                                                           Las Vegas, Nevada 89135




                                                                                                                        INFORMATION SERVICES, LLC,
                                                                                                                     14                                                (Second Request)
                                                                                                                             Defendants.
                                                                                                                     15

                                                                                                                     16

                                                                                                                     17           Plaintiff Shane Smith (“Plaintiff”) and Defendant Citibank, N.A. (“Citibank”)1

                                                                                                                     18 stipulate and agree that Citibank has up to and including January 3, 2022 to respond
                                                                                                                     19 to Plaintiff’s Complaint (ECF No. 1), to provide Citibank additional time to

                                                                                                                     20 investigate Plaintiff’s allegations and for Citibank to prepare a response.         The

                                                                                                                     21 current deadline to file a response is December 3, 2021. Therefore, pursuant to LR

                                                                                                                     22 IA 6-1, this stipulation is timely. This is the second stipulation for an extension of

                                                                                                                     23 time for Citibank to file a response to Plaintiff’s Complaint, and it is made in good

                                                                                                                     24 faith and not for purposes of delay.

                                                                                                                     25 //
                                                                                                                     26 //

                                                                                                                     27
                                                                                                                         By filing this Stipulation, Citibank is not waiving any affirmative defenses it may
                                                                                                                          1

                                                                                                                     28 have in this matter, including, but not limited to, lack of personal jurisdiction.


                                                                                                                          DMFIRM #400681127 v1
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                                                                                                                     1            Dated: November 30, 2021.

                                                                                                                     2 BALLARD SPAHR LLP                            THE WILCHER FIRM
                                                                                                                     3
                                                                                                                       By: /s/ Joel E. Tasca                        By: /s/ Whitney C. Wilcher
                                                                                                                     4 Joel E. Tasca, Esq.                          Whitney C. Wilcher, Esq.
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                                                                                                                     7 Citibank, N.A.                               Mailing Address:
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                                                                                                                     9                                              litigation@mccarthylawyer.com
                                                                                                                     10                                             Attorney for Plaintiff, Shane Smith
                                                                                                                     11

                                                                                                                     12
                                                                                                                                                              ORDER
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                                                                                                                     13
BALLARD SPAHR LLP

                                                           Las Vegas, Nevada 89135




                                                                                                                                                              IT IS SO ORDERED:
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                                                                                                                     15

                                                                                                                     16                                       UNITED STATES MAGISTRATE JUDGE

                                                                                                                     17                                                   12/2/2021
                                                                                                                                                              DATED:
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